|| MYRIAM ZAYAS,

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON

Case No:: 20-cv-00747 JCC

| PLAINTIFF, RESPONSE TO REQUEST FOR

Vy. SUMMARY JUDGEMENT

ANNETTE MESSITT,
ANN DANIELI,
DAVID LARAUuS,
PAULINE DUKE, |
JENNIE COWAN,
AMBER WHITNEY,

JEFFREY WHITNEY, |

DEFENDANT(S). |

No immunity for regulating my fetus, RCW only covers child, so Brendan
continued reference to my unborn child is a violation of my 14 amendment right
since he does not harass women who murder their fetus, calling them abusive. Below
is nationwide child welfare policy, Brendan should read child welfare policy before he
accuses me of being abusive based on me abusing my fetus. The Dependency
petition and Dr. Kelsey Owens refer to “vwnporn victim” many times, yet they forgot
the 50 million unborn victims in the dumpster behind planned parenthood. RCW
26.44, and 13.34 does not contain the word fetus nor does it grant immunity to people
who harass the fetus. So, go ahead and remove half the reason they took my kid. A

dirty UA when | had a fetus which is my body part, and not a child.

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/

: elated information, Always ask the family what their plan /
is for he baby, Lo not assume that the family’s plan is inadequate. Any —_//
gaps in the family’s plan will provide information on a parent's ability —/
to protect and may assist the worker in identifying where intervention is /
needed.
* Disposition, When determining the disposition, the CPS worker and CPS
supervisor must not make a dispositional finding related to abuse or
negtect of a fetus. Regardless of the behavior of an expectant mother or
potentially abusive partner, a child victim is required for all dispositions.

This Court House and all the judges in it know that Ann Danieli is not a Pro

Tem commissioner, she is also not a judge for King County anymore has not been
since 2008. They see the crime they see the forgery, and | am pretty sure she lacks
immunity out right and any judgment should definitely go in my favor not the
Defendants. Cf course, they're not getting titled funding because | pay child support
which is over 150 bucks a week. No title funding for them, I'm getting unemployment
and | also called them out right away for forcing foster placement, so they likely will
not try to force federal funding.

| know this court knows what's going on, | know the Supreme Court of
Washington and the appeals court know what's going on. Because they see the
parents who come in and out of these courtrooms, they see all of them. Even though
the cases are sealed, ail state officials see the nationality of the parents coming in
and out of family court. Who gets their kids and who is forced into “licensed” foster
placement for title funding.

| didn't see the discrimination for 15 years, because | don't see all the parents
who go in and out of family courts. | only see myself, and | only go nuts by myself.
This is a racially motivated movement and its happening in prisons also, corrections
officers and more. This is not just black against white it's all against white, in the
state of Washington there are not many other options for foster placement.

The social workers do not have to be black to discriminate against these

parents, they're all nationalities trained this way on purpose. To serve the hopeful

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adopting parents who request Caucasian children only. This should end now SINCE
RACE SHOULD NEVER MATTER IF ITS TEMPORARY PLACEMENT RIGHT?

My children have suffered all of them because of this favoring. From my
personal experience with CPS, social werkers in Washington state never have
probable cause, very rarely, they also never have a proper warrant. They never ask a
judge for permission; they always go out and just do it. Because they would rather do
that, and instead just hope you don't find out. The Defendants don't want to put on
the official record that they don't have probable cause, so of course they're not going
to have a hearing. Why would they have a hearing then they would just be telling
themselves?

There are no removal orders 2009-2020 for any of my children.

| had no clue that the reason my children were taken was because | was white
and had black children. | complained about Judge Grant in 2011, but | did not think |

would be treated the same if not worse by a whole different set of social workers ina

| completely different county, over a decade later. The Defendants do not know each

other.

Both Jamia McRae and Shea Hopfauf(20-cv-00981) refused to brush my
children’s hair for many months. Jamia from 2009-2012 and Shea from 2020 to 2021.
Different office locations, different times, and different children. SAME exact child
abuse, in the same way. Yes, it is their job to make sure it is done. | understand they
don't have to themselves brush her hair, but when | ask for something that simple and
easy to be do. > ! really should not have to ask its common basic hygiene.

Jamia and Shea know this is frustrating for me instead of fixing it, they make it
worse. | mean dead dried bugs in her hair, lint, string, and so many knots she would
scream and cry for hours as | tried to detangle them. | have the videos, photos, | even
found the hair dresser from 2012 at the Great Clips in Tacoma that spent 4 hours with
me trying to save my oldest daughters hair. BOTH OF MY DAUGHTERS suffered
one will never be the same because of it.

The Defendants in this case suppor this type of strange intentional child

abuse at all times relevant to this case | have sent Pauline Duke, Jennie Cowan and

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Laraus countless photos of my child suffering they ignore me and do nothing
because they hate my child. Judge Messitt, Judge Ramseyer, all Defendants have to
hate my children otherwise they would not allow them to be hurt this way.

What is the detinition of hating a person without knowing them? DISCRIMINATION.

| knew tha second | found that forgery in July 2020, that was part of the reason

why the Defendants were ignoring me and not giving me my proper visitation, as well
as intentionally trying to torture me to try to build their dead case.

Below is Amber Whitney doing as she is told by Jamaal Magee Defendant in
20-cv-0746 JCC:

FP texted this SW this messaged:

"Ok, Hahha, I was just going to add that ESM started to tell me that her dad had spanked her
before when she stayed with him once a bunch of times and ] asked if her mom spanked her and
she said "no my mom just hits me all the time" and when I tried to ask more, like with her hand
opened or closed, she just backtracked and said “no she doesn't do that she doesn't do that "and
wouldn't talk about it anymore. She has started to open up a couple times and then practically ran
the other direction. So that is so helpful forme to know why!"

Below is Amber Whitney again, the declaration she made for the restraining order,
even she likes making up lies, my child does not even talk this way, she is 5 “threw
against a wall” ‘s something an adult would say. Nice try though:

4 When A.C.Z, first arrived, | told her that | was a foster parent, and [ could tell
she was terrifted. Eventually though she warmed ap and became attached to our family. She
told me “T wish | had a mom like you,” and when | asked why, she said “I can’t tell you.” But
she did tell me that her mom threw her against a wall, And she told me that her mom had told
her CPS kidnaps and setis kids to “foster” families. In fact, the social workers told me that

This court docket is the one and only piece of official evidence that matters, proof
there was no hearing prior to or after my childs removal. Does not matter who swears
there was a hearing, all that matters is what is on the official record period. None of
the Defendants or myself can ever prove why my child was removed, whether they
had probable cause or even that there was a hearing at all. That is a clear as day

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fourth amendment violation

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oO 2 & 3/16/2020 Order Setting Case Schedide - Dependency &
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ys Py 26/2020 © Affidavit. / Dectaration 7 Gertiicate tf Service i
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Co 26 & Fy 4ey2020 = Affidavit / Deciaration / Certificate Of Service i
Li 2? § FP aye2oc9 note for Calendar > ro 49/30 SHELTER CARE i
ii 2 8 Fy 4/8/2020 Affidavit 7 Declaration / Certificate Of Service i
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ow 4 Fy 4/9/2020 = Nutice of Appearance i
cl 32 & Fr 49/2020 Affidavit f Dectaration / Certificate OF Service 4.
i 2 A 4/9/2020 Fouity Document Notice , i
it om os 4/9/2020 Fautty Gocument Notice i
f} as 8 4/9/2020 Carpsspondence « FROM MOTHER, MYRIAM ZAYAS 4
Cl 26 & 4/0/2020  Correspdndence ~ EMAIL FROM MOTHER, MYRIAM ZAYAS 3
c] 3? & 4/9/2020 Correspondence - FROM MOTHER MYRIAM ZAYAS 10

Brendan thin! > that tha fellowing traits mean you abused your child:

1. parental substance abuse,
prostitution,

not having food,

domestic violence,

me being erratic,

oa fF ON

me telling ail state officials to jump off a cliff.

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7. me getting high or drunk.
8. me smoking weed.
9. me suing all of them.

10. Me acting crazy

Mr. Lenihan has not provided any other removal orders from any time in my
entire life for any of rav children, he has provided a list of named exhibits yet still coe
cannot find the actual removal orders from 2009, or 2020, he cannot find proof aafffrer
affirmation was ever given in either case. He has not provided proof that any of the
African American male parents involved in my dependency actually completed a

single drug screen that was clean. There is not one in existence for my sons father.

|| He lacks any such proof that they completed any other court ordered required

services in order to regain custody of my children whom they did regain custody of

| followed by abandoning and molesting ilit™ less than 24 months after. This is a

violation of my 14th amendment rights under the Equal Protection Clause, to be
treated equally under the law.

| think it's hilarious that the Defendants have people swearing under oath that
Ann Danieli was there that day, because she was not. She does not even have any
type of immunity either.

lalso wick that the defendants do not know the current fawthey cannot take

children because a parent does drugs, clearly they highlighted the reason in there
dependency petition. They do not arrest people for robbing banks unless that person
has money from the bank. Clearly they don't know what child abuse is, and are
attempting to regulate my parental conduct. Which is none of their business, and
they're not my probation officer. | could do what | want, until | abuse my child they
cannot touch my child. | don't care if they're scared, I don't care if they predict the
future, | don't care if they have a crystal ball, they cannot touch my child unless |

abuse my child. That is the requirement under the law under the constitution under

common sense.

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The Defendants have been attempting to regulate my drug use since 2009 and
they can't do that. | can use drugs if | want to. Yes I can, its actually legal to possess
and kind of drug in this state under a gram. | could smoke crack everyday if | want to, |
could shoot heroin everyday if | want to. They do not take children from parents who
get speeding tickets under the assumption that parent might kill their child next time
they go for a ride, just because speeding may end ina car accident. So then why the
f*** do they think they are a drug intervention task force? They will steal your kid and
force you to comply or lose your kids for good. | am sorry their simply is not enough
data that there is a need for pee police who steal children when they find dirty pee.
There are not enough prostitute, drug using, child serial killers to make their

“concerns” valid. Based on statistics there is a 0.002% chance that | ever abused my

| child. They cannot sit there in wonder if | am abusing my child, because | do drugs

that is none of their business. It’s beginning to look really obvious that they're
obsessed with me and that's kind of gross because I'm not gay

If my «.: Joes to school every day and she's on time, happy, clean, not abused

they cannot touch my child. No matter what, they're not anybody's probation officer

and they cannot tell anyone how to live. | don't care how it looks to them from the

outside until my child is hurt by me, they lack jurisdiction completely, and they're

breaking the law

LAWS BROKEN

a. RCW 13.34.110 (3)(a)!
i. The Defendant Judge Messitt forced the Dependency Order by

defaulting to “Unknown.”

ii. They never even told me about this August 25th, 2020, court hearing.

‘Any stipulated or agreed order of dependency or disposition must be signed by the parent, guardian, or legal
custodian and his or her attorney, unless the parent, guardian, or legal custodian has waived his or her right to an
attorney in open court, and by the petitioner and the attorney, guardian ad litem, or court-appointed special advocate
for the child, if any.

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iii. | have never signed anything for CPS since the year 2014, yet more
recently they lie and say | signed all over the place | have yet to see
my signature.

b. RCW 26.44.015 2
i. Drug addiction is a disability according to the ADA.

ii. No parent can be deemed abusive due to their disability alone.

iii. The Defendants take children from parents who use drugs, but not
from parents who go to the bar or smoke weed.

iv. Since Snoop Dogg smokes weed its cool they let people certain
drugs but not others.

v. CPS does not hang out after the club and chase parents’ home to
take their kids for being drunk.

vi. This is how you know drugs is never the real reason, its always
because they hate the parent for other reasons.

c. RCW 13.34.065 (1)(a) 3
i. No SCH exists on the official docket in case 20-7-00666-0 KNT

ii. This hearing is required iy !aw to happen within 72 hours of a childs

removal.
d. RCW 18.34.069 (1) 4

i. Pauline and Jennie Cowan were well aware of my childs attendance

in school.
ii. OPS is required by law to collect my childs education records on day

one whicn they did in fact. Do.

“Limitations of chapter. (3) No parent or guardian may be deemed abusive or neglectful solely by reason of the
parent's or child's blindness, deafness, developmental disability, or other disability.

3When a child is taken into custody, the court shali ho!d a shelter care hearing within seventy-two hours, excluding
Saturdays, Sundays, and holidays.

“Provide the department or other *supervising agency with the right to inspect and copy all health, medical, mental
health, and education records of the child;

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e. RCW 9A.60.020 Forgery5

i. Defendant Ann Danieli lacks any type of immunity.

ii. The word commissioner is in the handwriting of Kelsey Owens who
itkely also signed the SCHO for Judge Messitt.
iit. Judge Messitt seemed very fond of Kelsey maybe they date each
other.
f. RCW 9A.72.090 Bribing a witness®

i. Influence the testimony of that person; er

ii. Induce that person to refrain from reporting information relevant to a
criminal investigation or the abuse or neglect of a minor child.
Bribing a witness is a class B felony.

iii. Atthe trial David, Jennie. and Pauline pretended they did not already
have my childs school records.

iv. Jennie and Pauline told my childs teacher to lie under oath, and say
that my child had bad attendance.

v. dennie and Pauline told my childs teacher to state under oath that
my child had behavior issues.

vi, the court official Defendants actions and crimes prompted case

(21-cv-0581 RSM Zayas vs. Boyett.)

5(b) He or she possesses, utters, offers, disposes of, or puts off as true a written instrument which he or she knows to
be forged. (a) He or she falsely makes, completes, or alters a written instrument or;

SThe legislature finds, therefore, that tampering with and/or intimidating witnesses or other persons with information
relevant to a press. * or future criminal or child dependency proceeding are grave offenses which adversely impact
the state's ability te yi cmote public safety and prosecute criminal behavior." [ 1994 c 271 § 201.]

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RIGHTS VIOLATED

g. Article VI: This Constitution, and the Laws of the United States which shall be

made in Pursuance thereof; and all Treaties made, or which shall be made, under
the Authority of the United States, shall be the supreme Law of the Land; and the

Judges in every State shall be bound thereby, any Thing in the Constitution or

Laws of any state to the Contrary notwithstanding.\

h. Amendment lV (1791): The right of ine neople to be secure in their persons,

houses, papers, and effects, against unreascnable searches and seizures, shail
not be violated, and no Warrants shall issue, but upon probable cause, supported
by Oath or affirmation, and particularly describing the place to be searched, and
the persons or things to be seized.

i. Amendment XIV (1868): Section 1. All persons born or naturalized in the United

States, at. wubject to the jurisdiction thereof, are citizens of the United States
and of the State wherein they reside. No State shall make or enforce any law which
shall abridge the privileges or immunities of citizens of the United States; nor
shall any State deprive any person of life, liberty, or property, without due process
of law; nor deny to any person within its jurisdiction the equal protection of the

laws.

In my mind lam my 7-year-old child she is innocent and continues to suffer | believe
she will prevail the Defendants are adults who need to take responsibility for their

felonies and stop abusing my daughter.

My name is Myriam Zayas | am above the age of 18 and am competent to testify to the
facts of this case / do certify and declare under penalty of perjury that the facts stated herein
are true and ca. 1ect to the best of my knowledge. This court is governed by the laws of the
state of Washins ion.

Today's date fs 7" of August 1. This was signed in Kent Washinaton, US.

Plaintiff Signature:

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